2:16-cr-00378-RMG          Date Filed 08/18/20        Entry Number 177-3            Page 1 of 4




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


  UNITED STATES OF AMERICA                                          CASE NO.
                                                                  2:16 - CR - 378
  v.

                                                   DECLARATION OF ATTORNEY
  MICHAEL SLAGER                                       DONALD MCCUNE


        I, Donald McCune, declare under penalty of perjury that the following is true and
 correct to the best of my knowledge and recollection.
 1.     I served as co-counsel for the defendant Michael Slager in the above-referenced
        matter.
 2.     Acting as counsel for Mr. Slager, I attended an ex-parte meeting in chambers with
        Judge David Norton, co-counsel Andy Savage, and Cheryl Savage, to discuss
        Criminal Justice Act funding matters and scheduling issues related to the then-
        pending state trial.
 3.     During the course of the meeting, Judge Norton remarked that he had followed the
        state case.
 4.     During the course of this meeting, while discussing these matters, Judge Norton
        expressed his opinion that “this is not a murder case.”
 5.     Before Judge Norton made the above-referenced comment, my co-counsel and I
        had engaged in preliminary plea negotiations with the Government.
 6.     I informed Mr. Slager about the Judge’s ex-parte remark and indicated to him that
        it was a positive sign for the disposition of the case.
 7.     As a result of the Judge’s comment, I began to believe that any agreement
        containing a plea to a base offense level of voluntary manslaughter would be
        contrary to Mr. Slager’s best interests, because Mr. Slager would be locked in to
        what I presumed would be the highest guideline range the Judge would administer
        given the facts and circumstances of the case.




                                               1
2:16-cr-00378-RMG         Date Filed 08/18/20      Entry Number 177-3         Page 2 of 4




 8.    At some point, the Government offered to enter a plea agreement that, inter alia,
       specified the base offense level as voluntary manslaughter.
 9.    Because I believed that voluntary manslaughter would be the upper limit of the
       offense, I reasoned that the better course would be to negotiate a time-certain
       sentence, or permit the parties to enter an “open” plea agreement wherein each side
       would argue for their respective positions, without recommending a joint position
       to the Judge.
 10.   On or about April 20, 2017, co-counsel and I received an e-mail from US Attorney
       Beth Drake, repeating an earlier Government offer of a plea to a base offense level
       of voluntary manslaughter – “Last offer still stands, and that is G/L range of 151-
       188, with your ability to argue for variances and departures. If you guys want to
       counter with something other than the involuntary guidelines, we will certainly
       consider.”
 11.   I did not convey this offer to Mr. Slager. I am not aware of co-counsel conveying
       this offer to Mr. Slager.
 12.   At the time, the defense team was deeply involved in end-game plea negotiations
       with the Government. We believed that a plea to a base offense level of voluntary
       manslaughter would lock Mr. Slager into the highest sentencing range that was
       already contemplated by the Court.
 13.   Because of the above-stated considerations, we did not seriously consider the offer
       to plea to voluntary manslaughter and continued to engage the Government in
       further plea negotiations.
 14.   After much negotiation, we recommended that Mr. Slager enter an “open” plea,
       allowing the Government to advocate for their position that the base offense level
       was Second-degree murder, and the defense team to argue our position that the
       base offense level was involuntary manslaughter.
 15.   On May 2, 2017, Mr. Slager appeared before the Honorable David Norton in order
       to enter a guilty plea pursuant to a Plea Agreement that myself and co-counsel had
       negotiated with the Government on Mr. Slager’s behalf, which co-counsel and I
       had recommended to Mr. Slager, and which Mr. Slager had reviewed and signed.




                                            2
2:16-cr-00378-RMG         Date Filed 08/18/20        Entry Number 177-3         Page 3 of 4




 16.   The Plea Agreement was non-binding on the court, in that it did not contain any
       Rule 11(c)(1)(C) language that “a specific sentence or sentencing range is the
       appropriate disposition of the case, or that a particular provision of the Sentencing
       Guidelines, or policy statement, or sentencing factor does or does not apply.”
 17.   The Plea Agreement further indicated that the Government would seek a cross-
       reference under the Guidelines to Second-degree Murder. (ECF 114 at 3).
 18.   The Plea Agreement specified that Mr. Slager, then released on bond, would be
       detained while awaiting sentencing.
 19.   The factual basis of the plea agreement admitted that Mr. Slager “willfully used
       deadly force though it was objectively unreasonable . . . .”
 20.   As we approached the sentencing date for Mr. Slager, the United States Probation
       Office completed a pre-sentence investigation report (PSR) that determined the
       base offense level in Mr. Slager’s case was voluntary manslaughter.
 21.   This PSR reinforced to the defense team that Mr. Slager would face a ceiling of
       voluntary manslaughter, and that by arguing for departures and variances, we could
       reduce his exposure, perhaps even to a base offense level of involuntary
       manslaughter.
 22.   As a result, the defense team crafted a sentencing presentation strategy that was
       aimed toward mitigation rather than advocacy.
 23.   The defense team had a use of force expert testify at the state trial.
 24.   Among other reasons, one purpose of a use of force expert is to explain to a finder
       of fact why actions of a police officer were objectively reasonable under the
       circumstances.
 25.   Among other reasons, one purpose of a use of force expert is to explain to a finder
       of fact any mitigating factors underlying objectively unreasonable police behavior,
       such as training, background, and experience.
 26.   The defense team did not have a use of force expert testify at Mr. Slager’s
       sentencing.
 27.   The mitigation strategy was intentionally pursued to streamline and focus the
       sentencing hearing.




                                              3
2:16-cr-00378-RMG        Date Filed 08/18/20        Entry Number 177-3          Page 4 of 4




 28.   I placed great weight on Judge Norton’s observation in an ex-parte session and
       allowed it to influence our strategy.
 29.   I did not communicate the plea offer of a base offense level of voluntary
       manslaughter to Mr. Slager.
 30.   I did not fully explain to Mr. Slager that he could avoid exposure to a life sentence
       by accepting a plea to a base-offense level of voluntary manslaughter.
 31.   I planned and participated in a design for the sentencing hearing aimed at preserving
       a perceived status quo.


 s/ Donald McCune
 Donald McCune


 August 12, 2020




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